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EXHIBIT E

Matterhorn Notes
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PROMISSORY NOTE (MSN 160) -

$1,500,000.00 New York, New York
January 30, 2020

FOR VALUE RECEIVED, Matterhorn Aviation Services Limited, an Irish limited company, with a principal
address of business at Embassy House, Herbert Park Lane, Ballsbridge, Dublin 4, Ireland (the "Maker"), promises to
pay to the order of Honda Aircraft Company, LLC, a Delaware limited liability company with a principal address of
business at 6430 Ballinger Road, Greensboro, NC 27410 USA, Attention: contracts@haci.honda.com (the "Lender"),
the principal sum of One Million Five Hundred Thousand and 00/100 Dollars ($1,500,000.00), payable at the times
hereinafter specified, together with interest, in arrears, from the date hereof on the unpaid balance from time to time
outstanding and on all unpaid or deferred installments of interest, whether before or after the maturity of or default
under this Note, at a rate of interest equal to two percent (2.00%) per annum. Capitalized terms used and not
otherwise defined herein shall have the meaning assigned thereto in that certain Aircraft Lease Agreement by and
between the Lender, as lessee, and the Owner Trustee, as lessor, dated as of the date hereof (as may be amended,
restated and/or modified from time to time, the “Lease Agreement”).

Recitals

A. Lender is the manufacturer of that certain HondaJet HA-420 aircraft described on Exhibit A attached
hereto (the “Aircraft”);

B. Bank of Utah, not in its individual capacity but solely as Owner Trustee (the “Owner Trustee”) under
that certain Trust Agreement (the “Trust Agreement”) by and between the Owner Trustee and MAS
ONE USA LLC (“MAS One’), as trustor, has agreed to purchase the Aircraft from the Lender pursuant
to the terms of the Purchase Agreement and Purchase Agreement Assignment (collectively, the
“Purchase Documents”);

C. The Maker is an affiliate of MAS One, the trustor under the Trust Agreement, and has agreed to enter
into this Note to make certain payments required under the terms of the Purchase Documents on
behalf of the Owner Trustee and MAS One as provided for below;

D. Lender as lessee has also agreed to lease the Aircraft from the Owner Trustee as lessor pursuant to
the terms of the Lease Agreement and to sublease the Aircraft to Wing Spirit, Inc., a Hawaii corporation
(the “Sublessee”), as sublessee, pursuant to the terms of that certain Aircraft Sublease Agreement by
and between the Lender, as sublessor, and the Sublessee, dated as of the date hereof (as may be
amended, restated and/or modified from time to time, the “Sublease Agreement,” and together with the
Lease Agreement, the “Lease Documents”);

E. In connection with the execution of the Lease Agreement, the Lender has also entered into a certain
Residual Value Guarantee Agreement in favor of the Owner Trustee dated as of the date hereof
relating the Aircraft (as may be amended, restated and/or modified from time to time, the “Residual
Value Guarantee” and together with the Lease Documents and the other documents executed by the
Lender and its affiliates in connection therewith, the “Transaction Documents”), pursuant to which the
Lender has agreed to guarantee the residual value of the Aircraft; and

F. With respect to the payment of the purchase price to be made by the Owner Trustee fo Lender under
terms of the Purchase Documents and notwithstanding anything to the contrary contained in the
Transaction Documents or the funds flow memorandum related thereto, the Owner Trustee, MAS One,
and the Maker have requested and the Lender has agreed to defer (the “Deferred Payment”) of a
portion of such purchase price payment in the amount of $1,500,000 until the Maturity Date, and on the
Delivery Date (as such term is defined in the Lease Agreement), the Lender has agreed to make such
Deferred Payment on behalf of the Maker, the Owner Trustee and MAS One in connection with the
purchase by the Owner Trustee of the Aircraft subject to the terms of this Note.

NOW THEREFORE, in consideration of the foregoing premises and the mutual benefits to be derived by the Maker
and its affiliate, MAS One, and the Lender from a continuing relationship under the Transaction Documents and for
other good and valuable consideration, the receipt and adequacy of which are hereby acknowledged, the parties
hereto agree: ,

1.Payments. Notwithstanding anything in this Note or the Transaction Documents to the contrary, the entire

unpaid principal balance of this Note and all accrued and unpaid interest thereon shall be due and payable
on the first to occur of (i) the Base Term Expiry Date (as such term is defined in the Lease Agreement)

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related to the Aircraft, (ii) the termination of the Lease Agreement under the terms thereof, or (iii) October
31, 2020 (collectively, the “Maturity Date”). THE MAKER AGREES AND ACKNOWLEDGES THAT (1) THE
LOAN MADE TO THE MAKER UNDER THIS NOTE IS NOT A FULLY AMORTIZING LOAN; AND (2) A
SUBSTANTIAL PRINCIPAL BALANCE OR BALLOON PAYMENT OF PRINCIPAL SHALL BE DUE AND
PAYABLE ON THE MATURITY DATE.OF THIS NOTE.

2. Interest Computation. All payments under this Note shall be made in immediately available funds and
shall be credited first to accrued interest then due, thereafter to unpaid principal, and then to other charges,
fees, costs, and expenses payable by the Maker under this Note in such order and amounts as the Lender
may determine in its sole and absolute discretion. If any payment of interest is not made when due, at the
option of the Lender, such interest payment shall bear interest at the same rate as principal from and after
the due date of the interest payment. Principal and interest shall be payable only in lawful money of the
United States of America. The receipt of any check or other item of payment (a “payment item”) by the
Lender, at its option, shall not be considered a payment until such payment item is honored when
presented for payment at the drawee bank or institution, and the Lender, at its option, may delay the credit
of such payment until such payment item is so honored. Notwithstanding anything to the contrary
contained in this Note, interest at the rates provided for in this Note shall be computed on the basis of a
three hundred sixty (360) day year for the actual number of days during which the principal balance of this
Note is outstanding. The Maker acknowledges and agrees that the calculation of interest on the basis
described in the immediately preceding sentence may result in the accrual and payment of interest in
amounts greater than those which would be payable if interest were calculated on the basis of a three
hundred sixty-five (365) day year.

3. Prepayment. The Maker shall have the right to prepay all or part of the outstanding principal balance of
this Note at any time without payment to the Lender of a prepayment fee or charge.

4. After Maturity/Default Rate of Interest. From and after either (a) an Event of Default (as such term is
defined below); or (b) the maturity of this Note (whether the stated maturity date of this Note or the maturity
date resulting from the Lender's acceleration of unpaid principal and interest), then in either of such
circumstances, interest on the unpaid principal balance of this Note shall accrue at a rate equal to two
percent (2.00%) per annum above the otherwise applicable interests rate.

5. Events of Default. The occurrence of any one or more of the following events will constitute an Event of
Default hereunder: (a) Nonpayment of any instaliment of principai and/or interest due under this Note when
it shall become due and payable (no prior demand therefor being necessary); (b) (i) The insolvency or
inability of the Maker to pay its debts as they mature; (ii) the appointment of a receiver, trustee, custodian or
other fiduciary, for, or for any of the property of, the Maker; (iii) the making of any assignment for the benefit
of creditors, or the making of or entering into a trust mortgage or deed or other instrument or similar import
for the benefit of creditors, by the Maker; or (iv) the convening of a meeting of the creditors, or the selection
of a committee representing the creditors of the Maker; (c) The filing of a petition, complaint, motion or other
pleading seeking relief under any receivership, insolvency, or debtor relief law, or seeking any readjustment
of indebtedness, reorganization, composition, extension or any similar type of relief, or the filing of a
petition, complaint, or motion under any chapter of the federal bankruptcy code, 11 U.S.C. 101, et. seq., as
the same now exists or may hereafter be amended (the "Bankruptcy Code"), by the Maker; (d) The filing of
a petition, complaint, motion or other pleading seeking any relief under any receivership, insolvency, or
debtor relief law, or under any chapter of the Bankruptcy Code, or seeking any readjustment of
indebtedness, reorganization, composition, extension or any similar type of relief, or the entry of any order
for relief under any chapter of the Bankruptcy Code, against, the Maker; provided, however, that if the
Maker shall immediately notify the Lender in writing of the filing of any such petition, complaint, motion or
other pleading against the Maker and shall provide evidence satisfactory to the Lender that the Maker has
in good faith and within 10 days after the filing of any such petition, complaint, motion or other pleading filed
an answer thereto contesting same, then there shall be no Event of Default under this subparagraph (d)
until the earliest of (i) the entry of an order for relief or a judgment under any proceedings referred to in this
subparagraph (d), (ii) the appointment of a receiver, trustee, custodian or other fiduciary in any such
proceeding, or (iii) the expiration of a period of 30 days, at the end of which such petition, complaint, motion
or other pleading remains undismissed; (e) The entry of any judgment against, or the attachment or
garnishment of any of the property, goods or credits of, the Maker which remains unpaid, unstayed,
undismissed or unbonded for a period of 30 days; or if any foreclosure is instituted (by judicial proceedings,
by publication of notice pursuant to a power of sale or otherwise) against the Maker under any mortgage,
deed of trust or security agreement granted by the Maker and is not dismissed or terminated for a period of
15 days; (f) The dissolution, liquidation or termination of existence of the Maker or a sale of substantially all
of the assets of the Maker out of the ordinary course of business; or (g) a breach by the Maker of any other
term or condition of this Note.

 
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Remedies. If an Event of Default occurs and is continuing, the Lender may exercise any right, power or
remedy permitted by law or as set forth herein, including, without limitation, the right to declare the entire
unpaid principal amount hereof and ail interest accrued hereon and such principal, interest and other sums
shall thereupon become, immediately due and payable.

Waiver. The Maker waives demand, notice (except to the extent expressly required herein), presentment,
protest, demand for payment, notice of dishonor, notice of protest and diligence of collection of this Note.
The Maker consents to any and all extensions of time, renewals, waivers, or modifications that may be
granted by the Lender with respect to the payment or other provisions of this Note. The liability of the Maker
hereunder shall be absolute and unconditional and without regard to the liability of any other party hereto,
and the Maker agrees that makers, endorsers, guarantors and sureties may be added or released without
notice and without affecting the Maker's liability hereunder.

Late Charge. If any installment of interest and/or payment of principal under this Note is not paid within ten
(10) days after the date on which it is due, the Maker shall immediately pay a late charge equal to two
percent (2.00%) of such installment to the Lender to compensate the Lender for administrative costs and
expenses incurred in connection with such iate payment. The Maker agrees that the actual damages
suffered by the Lender because of any late installment payment are extremely difficult and impracticable to
ascertain, and the fate charge described in this Section represents a reasonable attempt to fix such
damages under the circumstances existing at the time this Note is executed. The Lender's acceptance of
any late charge shall not constitute a waiver of any of the terms of this Note and shall not affect the
Lender's right to enforce any of its rights and remedies against any person liable for payment of this Note.

Application of Payments. Upon the occurrence and during the continuation of any Event of Default, the
Lender, at its option, shall have the right to apply all payments made under this Note to principal, interest,
and other charges, fees, costs and expenses payable by the Maker under this Note in such order and
amounts as the Lender may determine in its sole and absolute discretion.

Modifications; Loss of Note. No modification or waiver by the Lender of any of the terms of this Note
shall be valid or binding on Lender unless such modification or waiver is in writing and signed by the
Lender. If this Note is lost, stolen, or destroyed, upon the Maker's receipt of a reasonably satisfactory
indemnification agreement executed by the Lender, or if this Note is mutilated, upon the Lender's surrender
of the mutilated Note to the Maker, the Maker shall execute and deliver to the Lender a new promissory
note which is identical in form and content to this Note to replace the lost, stolen, destroyed or mutilated
Note.

Applicable Law; Successors. This Note shall be governed by and interpreted in accordance with the laws
of the State of New York (determined without regard to its conflicts of law principles other than Section 5-
1401 and Section 5-1402 of the New York General Obligations Law). The Lender and the Maker agree that
the courts of the State of New York and Federal District Court located in New York County, New York, shail
have exclusive jurisdiction and venue of any action or proceeding directly or indirectly arising out of or
related to the negotiation, execution, delivery, performance, breach, enforcement or interpretation of this
Note, regardless of whether or not any claim, counterclaim or defense in any such action or proceeding is
characterized as arising out of fraud, negligence, intentional misconduct, breach of contract or fiduciary
duty, or violation of any governmental requirements. The Maker irrevocably consents to the personal
jurisdiction of such courts and to such venue. The Maker waives ail objections to such jurisdiction and
venue, including all objections that are based upon inconvenience or the nature of the forum.

Setoff. The Maker grants to the Lender a right of setoff in all property of the Maker, now or hereafter in the
possession of the Maker, as security for the payment of this Note and any other liabilities of the Maker to
the Lender, which right of setoff shall be enforceable by the Lender on the Maturity Date or at any time after
and during the continuance of an Event of Default hereunder and subject to all provisions of this Note, as if
such property were specifically pledged hereunder. For the avoidance of doubt and notwithstanding
anything to the contrary in this Note, the Transaction Documents or any other documents executed in
connection therewith, the Lender shall have the right to exercise its setoff right with respect to any payment
that the Lender must make to the Maker, the Owner Trustee or MAS One under the Transaction
Documents, including, without limitation, the Lease Documents or the Residual Value Guarantees, or any
payment that an affiliate of the Lender must make to the Maker, the Owner Trustee or MAS One under the
terms of the Transaction Documents.

Indemnification. The Maker hereby indemnifies and agrees to defend and hold harmless the Lender, its
officers, employees and agents, from and against any and all losses, damages, or liabilities and from any
suits, claims or demands, including reasonable attorneys' fees incurred in investigating or defending such
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claim, suffered by any of them and caused by, arising out of, or in any way connected with this Note or the
transactions contemplated therein (unless determined by a final judgment of a court of competent
jurisdiction to have been caused solely by the gross negligence or willful misconduct of any of the
indemnified parties). If any action shall be brought against the Lender, its officers, employees or agents, in
respect to which indemnity may be sought against the Maker, the Lender or such other party shall promptly
notify the Maker and the Maker shall assume the defense thereof, including the employment of counsel
selected by the Maker and reasonably satisfactory to the Lender, the payment of all reasonable costs and
expenses and the right to negotiate and consent to settlement. The Lender shall have the right, at its sole
option, to employ separate counsel in any such action and to participate in the defense thereof, all at the
Maker's sole cost and expense.

Notices. All notices and communications under this Note shall be in writing and shall be given by either
(a) hand-delivery, (b) first class mail (postage prepaid), or (c) reliable overnight commercial courier (charges
prepaid), to the addresses listed above. Notice shall be deemed to have been given and received: (i) if by
hand delivery, upon delivery, (ii) if by mail, three (3) calendar days after the date first deposited in the
United States mail, and (iii) if by overnight courier, on the date of actual delivery or first attempted delivery if
delivery is refused. A party may change its address by giving written notice to the other party as specified
herein

Further Assurances. The Maker will, at its expense, promptly and duly execute and deliver to the Lender
Parties such further documents and assurances to take such further action as the Lender may from time to
time request in writing in order to more effectively carry out the intent and purpose of this Note and to
establish and protect the rights and remedies created or intended to be created in favor of the Lender
hereunder, including without limitation, to enter into any and all documents, instruments, or amendments
necessary or desirable to enforce this Note against the Maker or needed by the Lender in connection with
the procurement, establishment or maintenance of a letter of credit from a bank relating to the obligations of
the Maker under this Note.

Partial Invalidity. The invalidity or unenforceability of any one or more provisions of this Note shalt not
render any other provision invalid or unenforceable. in lieu of any invalid or unenforceable provision, there
shall be added automatically a valid and enforceable provision as similar in terms to such invalid or
unenforceable provision as may be possible.

Counterparts: Electronic Signature Pages. This Note may be executed in counterparts, each of which
shall constitute an original and all of which together shall-constitute one and the same document. This Note
may be delivered by the Maker via facsimile, electronic. mail (including pdf or any electronic signature
complying with the U.S. federal ESIGN Act of 2000, e.g., www.docusign.com) or other transmission method
and this Note so delivered shall be deemed to have been duly and validly delivered and be valid and
effective as an original for all purposes.

Binding Effect. The covenants, conditions, waivers, releases and agreements contained in this Note shall
bind, and the benefits thereof shall inure to, the parties hereto and their respective heirs, executors,
administrators, successors and assigns, provided, however, that this Note cannot be assigned by the Maker
without the prior written consent of the Lender, and any such assignment or attempted assignment by the
Maker absent such consent shalt be void and of no effect with respect to the Lender.

Modifications. This Note may not be supplemented, extended, modified or terminated except by an
agreement in writing signed by the party against whom enforcement of any such waiver, change,
modification or discharge is sought. '

USA PATRIOT ACT. The Lender hereby notifies the Maker that pursuant to the requirements of the USA
Patriot Act (Title II] of Pub. L. 107-56), the Lender may be required to obtain, verify, and record information
that identifies the Maker, which information includes the name and address of the Maker and other
information that will allow the Lender to identify the MAKER in accordance with the USA Patriot Act.

[Signature Page Follows]
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IN WITNESS WHEREOF, the undersigned, intending to be legally bound, has caused this Promissory Note to be
duly executed on the day and year first written above.

MATTERHORN AVIATION SERVICES LIMITED

By: | Cage PReilly

Eugene O'Rei11)
Name: g y

 

Title: Director

[Signature Page to Promissory Note]
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Exhibit A

Description of the Aircraft

Airframe Information

 

 

 

 

 

 

Manufacturer Honda Aircraft Company, LLC
Model HA-420
Serial Number 42000160

N193WS

 

Registration Number

Engine Information

 

 

 

 

 

 

Manufacturer GE Honda Aero Engines
Model HF120
Serial Number 1 883433
Serial Number 2 883466

 

 

 
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PROMISSORY NOTE (MSN 161)

$1,500,000.00 New York, New York
January 30, 2020

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address of business at Embassy House, Herbert Park Lane, Bailsbridge, Dublin 4, Ireland (the "Maker"), promises to
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the principal sum of Orie Million Five Hundred Thousand and 00/100 Dollars ($1,500,000.00), payable at the times
hereinafter specified, together with interest, in arrears, from the date hereof on the unpaid balance from time to time
outstanding and on all unpaid or deferred installments of interest, whether before or after the maturity of or default
under this Note, at a rate of interest equal to two percent (2.00%) per annum. Capitalized terms used and not
otherwise defined herein shall have the meaning assigned thereto in that certain Aircraft Lease Agreement by and
between the Lender, as lessee, and the Owner Trustee, as lessor, dated as of the date hereof (as may be amended,
restated and/or modified from time to time, the “Lease Agreement’).

 

 

Recitals

A. Lender is the’ manufacturer of that certain HondaJet HA-420 aircraft described on Exhibit A attached
hereto (the “Aircraft’);

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“Purchase Documents”);

C. The Maker is an affiliate of MAS One, the trustor under the Trust Agreement, and has agreed to enter
into this Note to make certain payments required under the terms of the Purchase Documents on
behalf of the Owner Trustee and MAS One as provided for below;

D. Lender as lessee has also agreed to lease the Aircraft from the Owner Trustee as lessor pursuant to
the terms of the Lease Agreement and to sublease the Aircraft to Wing Spirit, Inc., a Hawaii corporation
(the “Sublessee”), as sublessee, pursuant to the terms of that certain Aircraft Sublease Agreement by
and between the Lender, as sublessor, and the Sublessee, dated as of the date hereof (as may be
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Lease Agreement, the “Lease Documents”);

E. In connection with the execution of the Lease Agreement, the Lender has also entered into a certain
Residual Value Guarantee Agreement in favor of the Owner Trustee dated as of the date hereof
relating the Aircraft (as may be amended, restated and/or modified from time to time, the “Residual
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Lender has agreed to guarantee the residual value of the Aircraft; and

F. With respect to the payment of the purchase price to be made by the Owner Trustee to Lender under
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1.Payments. Notwithstanding anything in this Note or the Transaction Documents to the contrary, the entire

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related to the Aircraft, (ii) the termination of the Lease Agreement under the terms thereof, or (iif) October
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other fiduciary, for, or for any of the property of, the Maker; (iii) the making of any assignment for the benefit
of creditors, or the making of or entering into a trust mortgage or deed or other instrument or similar import
for the benefit of creditors, by the Maker; or (iv) the convening of a meeting of the creditors, or the selection
of a committee representing the creditors of the Maker: (c) The filing of a petition, complaint, motion or other
pleading seeking relief under any receivership, insolvency, or debtor relief law, or seeking any readjustment
of indebtedness, reorganization, composition, extension or any similar type of relief, or the filing of a
petition, complaint, or motion under any chapter of the federal bankrupicy code, 11 U.S.C. 101, ef. seq., as
the same now exists or may hereafter be amended (the "Bankruptcy Code"), by the Maker; (d) The filing of
a petition, complaint, motion or other pleading seeking any relief under any receivership, insolvency, or
debtor relief law, or under any chapter of the Bankruptcy Code, or seeking any readjustment of
indebtedness, reorganization, composition, extension or any similar type of relief, or the entry of any order
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garnishment of any of the property, goods or credits of, the Maker which remains unpaid, unstayed,
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by publication of notice pursuant to a power of sale or otherwise) against the Maker under any mortgage,
deed of trust or security agreement granted by the Maker and is not dismissed or terminated for a period of
15 days; (f) The dissolution, liquidation or termination of existence of the Maker or a sale of substantially all
of the assets of the Maker out of the ordinary course of business; or (g) a breach by the Maker of any other
term or condition of this Note.

 
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Remedies. If an Event of Default occurs and is continuing, the Lender may exercise any right, power or
remedy permitted by law or as set forth herein, including, without limitation, the right to declare the entire
unpaid principal amount hereof and all interest accrued hereon and such principal, interest and other sums
shall thereupon become, immediately due and payable.

Waiver. The Maker waives demand, notice (except to the extent expressly required herein), presentment,
protest, demand for payment, notice of dishonor, notice of protest and diligence of collection of this Note.
The Maker consents to any and all extensions of time, renewals, waivers, or modifications that may be
granted by the Lender with respect to the payment or other provisions of this Note. The liability of the Maker
hereunder shall be absolute and unconditional and without regard to the liability of any other party hereto,
and the Maker agrees that makers, endorsers, guarantors and sureties may be added or released without
notice and without affecting the Maker's liability hereunder.

Late Charge. If any installment of interest and/or payment of principal under this Note is not paid within ten
(10) days after the date on which it is due, the Maker shall immediately pay a late charge equal to two
percent (2.00%) of such installment to the Lender to compensate the Lender for administrative costs and
expenses incurred in connection with such late payment. The Maker agrees that the actual damages
suffered by the Lender because of any late installment payment are extremely difficult and impracticable to
ascertain, and the late charge described in this Section represents a reasonable attempt to fix such
damages under the circumstances existing at the time this Note is executed. The Lender's acceptance of
any late charge shall not constitute a waiver of any of the terms of this Note and shall not affect the
Lender's right to enforce any of its rights and remedies against any person liable for payment of this Note.

Application of Payments. Upon the occurrence and during the continuation of any Event of Default, the
Lender, at its option, shall have the right to apply all payments made under this Note to principal, interest,
and other charges, fees, costs and expenses payable by the Maker under this Note in such order and
amounts as the Lender may determine in its sole and absolute discretion.

Modifications: Loss of Note. No modification or waiver by the Lender of any of the terms of this Note
shall be valid or binding on Lender unless such modification or waiver is in writing and signed by the
Lender. If this Note is lost, stolen, or destroyed, upon the Maker's receipt of a reasonably satisfactory
indemnification agreement executed by the Lender, or if this Note is mutilated, upon the Lender's surrender
of the mutilated Note to the Maker, the Maker shall execute and deliver to the Lender a new promissory
note which is identical in form and content to this Note to replace the lost, stolen, destroyed or mutilated
Note.

Applicable Law; Successors. This Note shall be governed by and interpreted in accordance with the laws
of the State of New York (determined without regard to its conflicts of law principles other than Section 5-
1401 and Section 5-1402 of the New York General Obligations Law). The Lender and the Maker agree that
the courts of the State of New York and Federal District Court located in New York County, New York, shall
have exclusive jurisdiction and venue of any action or proceeding directly or indirectly arising out of or
related to the negotiation, execution, delivery, performance, breach, enforcement or interpretation of this
Note, regardless of whether or not any claim, counterclaim or defense in any such action or proceeding is
characterized as arising out of fraud, negligence, intentional misconduct, breach of contract or fiduciary
duty, or violation of any governmental requirements. The Maker irrevocably consents to the personal
jurisdiction of such courts and to such venue. The Maker waives all objections to such jurisdiction and
venue, including all objections that are based upon inconvenience or the nature of the forum.

Setoff. The Maker grants to the Lender a right of setoff in all property of the Maker, now or hereafter in the
possession of the Maker, as security for the payment of this Note and any other liabilities of the Maker to
the Lender, which right of setoff shall be enforceable by the Lender on the Maturity Date or at any time after
and during the continuance of an Event of Default hereunder and subject to all provisions of this Note, as if
such property were specifically pledged hereunder. For the avoidance of doubt and notwithstanding
anything to the contrary in this Note, the Transaction Documents or any other documents executed in
connection therewith, the Lender shail have the right to exercise its setoff right with respect to any payment
that the Lender must make to the Maker, the Owner Trustee or MAS One under the Transaction
Documents, including, without limitation, the Lease Documents or the Residual Value Guarantees, or any
payment that an affiliate of the Lender must make to the Maker, the Owner Trustee or MAS One under the
terms of the Transaction Documents.

Indemnification. The Maker hereby indemnifies and agrees to defend and hold harmless the Lender, its
officers, employees and agents, from and against any and.all losses, damages, or liabilities and from any
suits, claims or demands, including reasonable attorneys’ fees incurred in investigating or defending such
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claim, suffered by any of them and caused by, arising out of, or in any way connected with this Note or the
transactions contemplated therein (unless determined by a final judgment of a court of competent
jurisdiction to have been caused solely by the gross negligence or willful misconduct of any of the
indemnified parties). If any action shall be brought against the Lender, its officers, employees or agents, in
respect to which indemnity may be sought against the Maker, the Lender or such other party shall promptly
notify the Maker and the Maker shall assume the defense thereof, including the employment of counsel
selected by the Maker and reasonably satisfactory to the Lender, the payment of all reasonable costs and
expenses and the right to negotiate and consent to settlement. The Lender shall have the right, at its sole
option, to employ separate counsel in any such action and to participate in the defense thereof, all at the
Maker's sole cost and expense.

Notices. All notices and communications under this Note shall be in writing and shall be given by either
(a) hand-delivery, (b) first class mail (postage prepaid), or (c) reliable overnight commercial courier (charges
prepaid), to the addresses listed above. Notice shall be deemed to have been given and received: (i) if by
hand delivery, upon delivery, (ii) if by mail, three (3) calendar days after the date first deposited in the
United States mail, and (iii) if by overnight courier, on the date of actuai delivery or first attempted delivery if
delivery is refused. A party may change its address by giving written notice to the other party as specified
herein .

Eurther Assurances. The Maker will, at its expense, promptly and duly execute and deliver to the Lender
Parties such further documents and assurances to take such further action as the Lender may from time to
time request in writing in order to more effectively carry out the intent and purpose of this Note and to
establish and protect the rights and remedies created or intended to be created in favor of the Lender
hereunder, including without limitation, to enter into any and all documents, instruments, or amendments
necessary or desirable to enforce this Note against the Maker or needed by the Lender in connection with
the procurement, establishment or maintenance of a letter of credit from a bank relating to the obligations of
the Maker under this Note.

Partial Invalidity. The invalidity or unenforceability of any one or more provisions of this Note shalt not
render any other provision invalid or unenforceable. in lieu of any invalid or unenforceable provision, there
shall be added automatically a valid and enforceable provision as similar in terms to such invalid or
unenforceable provision as may be possible.

Counterparts: Electronic Signature Pages. This Note may be executed in counterparts, each of which

shall constitute an original and.all of which together shall constitute one and the same document. This Note
may be delivered by the Maker via facsimile, electronic mail (including pdf or any electronic signature
complying with the U.S. federal ESIGN Act of 2000, e.g., www.docusign.com) or other transmission method
and this Note so delivered shall be deemed to have been duly and validly delivered and be valid and
effective as an original for all purposes.

Binding Effect. The covenants, conditions, waivers, releases and agreements contained in this Note shall
bind, and the benefits thereof shall inure to, the parties hereto and their respective heirs, executors,
administrators, successors and assigns, provided, however, that this Note cannot be assigned by the Maker
without the prior written consent of the Lender, and any such assignment or attempted assignment by the
Maker absent such consent shalt be void and of no effect with respect to the Lender.

Modifications. This Note may not be supplemented, extended, modified or terminated except by an
agreement in writing signed by the party against whom enforcement of any such waiver, change,
modification or discharge is sought.

USA PATRIOT ACT. The Lender hereby notifies the Maker that pursuant to the requirements of the USA
Patriot Act (Title Ill of Pub. L. 107-56), the Lender may be required to obtain, verify, and record information
that identifies the Maker, which information includes the name and address of the Maker and other
information that will allow the Lender to identify the MAKER in accordance with the USA Patriot Act.

[Signature Page Follows]
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IN WITNESS WHEREOF, the undersigned, intending to be legally bound, has caused this Promissory Note to be
duly executed on the day and year first written above.

MATTERHORN AVIATION SERVICES LIMITED

ay, | Eugene O'feilly

Eugene O'Reil ly
Name:

 

Title: Director

[Signature Page to Promissory Note]
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Exhibit A

Description of the Aircraft

Airframe Information

 

 

 

 

 

 

Manufacturer Honda Aircraft Company, LLC
Model HA-420

Serial Number 42000161
Registration Number N551WS

 

Engine Information

 

 

 

 

 

 

Manufacturer GE Honda Aero Engines
Model HF120
Serial Number 1 883441
Serial Number 2 883434

 

 

 
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PROMISSORY NOTE (MSN 118)

$1,500,000.00 New York, New York
January 30, 2020

FOR VALUE RECEIVED, Matterhorn Aviation Services Limited, an Irish limited company, with a principal
address of business at Embassy House, Herbert Park Lane, Ballsbridge, Dublin 4, ireland (the "Maker"), promises to
pay to the order of Honda Aircraft Company, LLC, a Delaware limited liability company with a principal address of
business at 6430 Ballinger Road, Greensboro, NC 27410 USA, Attention: contracts@haci.honda.com (the "Lender"),
the principal sum of One Million Five Hundred Thousand and 00/100 Dollars ($1,500,000.00), payable at the times
hereinafter specified, together with interest, in arrears, from the date hereof on the unpaid balance from time to time
outstanding and on all unpaid or deferred installments of interest, whether before or after the maturity of or default
under this Note, at a rate of interest equal to two percent (2.00%) per annum. Capitalized terms used and not
otherwise defined herein shall have the meaning assigned thereto in that certain Aircraft Lease Agreement by and
between the Lender, as lessee, and the Owner Trustee, as lessor, dated as of the date hereof (as may be amended,
restated and/or modified from time to time, the “Lease Agreement”).

Recitals

A. Lender is the manufacturer of that certain HondaJet HA-420 aircraft described on Exhibit A attached
hereto (the “Aircraft”);

 

B. Bank of Utah, not in its individual capacity but solely as Owner Trustee (the “Owner Trustee”) under
that certain Trust Agreement (the “Trust Agreement”) by and between the Owner Trustee and MAS
ONE USA LLC (“MAS One’), as trustor, has agreed to purchase the Aircraft from the Lender pursuant
to the terms of the Purchase Agreement and Purchase Agreement Assignment (collectively, the
“Purchase Documents”);

C. The Maker is an affiliate of MAS One, the trustor under the Trust Agreement, and has agreed to enter
into this Note to make certain payments required under the terms of the Purchase Documents on
behalf of the Owner Trustee and MAS One as provided for below;

D. Lender as lessee has also agreed to lease the Aircraft from the Owner Trustee as lessor pursuant to
the terms of the Lease Agreement and to sublease the Aircraft to Wing Spirit, inc., a Hawaii corporation
(the “Sublessee”), as sublessee, pursuant to the terms of that certain Aircraft Sublease Agreement by
and between the Lender, as sublessor, and the Sublessee, dated as of the date hereof (as may be
amended, restated and/or modified from time to time, the “Sublease Agreement,” and together with the
Lease Agreement, the “Lease Documents”);

E. In connection with the execution of the Lease Agreement, the Lender has also entered into a certain
Residual Value Guarantee Agreement in favor of the Owner Trustee dated as of the date hereof
-relating the Aircraft (as may be amended, restated and/or modified from time to time, the “Residual
Value Guarantee” and together with the.Lease Documents and the other documents executed by the
Lender and its affiliates in connection therewith, the “Transaction Documents”), pursuant to which the
Lender has agreed to guarantee the residual value of the Aircraft; and

F. With respect to the payment of the purchase price fo be made by the Owner Trustee to Lender under
terms of the Purchase Documents and notwithstanding anything to the contrary contained in the
Transaction Documents or the funds flow memorandum related thereto, the Owner Trustee, MAS One,
and the Maker have requested and the Lender has agreed to defer (the “Deferred Payment’) of a
portion of such purchase price payment in the amount of $1,500,000 until the Maturity Date, and on the
Delivery Date (as such term is defined in the Lease Agreement), the Lender has agreed to make such
Deferred Payment on behalf of the Maker, the Owner Trustee and MAS One in connection with the
purchase by the Owner Trustee of the Aircraft subject to-the terms of this Note.

NOW THEREFORE, in consideration of the foregoing premises and the mutual benefits to be derived by the Maker
and its affiliate, MAS One, and the Lender from a continuing relationship under the Transaction Documents and for
other good and valuable consideration, the receipt and adequacy of which are hereby acknowledged, the parties
hereto agree:

1.Payments. Notwithstanding anything in this Note or the Transaction Documents to the contrary, the entire

unpaid principal balance of this Note and all accrued and unpaid interest thereon shall be due and payable
on the first to occur of (i) the Base Term Expiry Date (as such term is defined in the Lease Agreement)

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related to the Aircraft, (ii) the termination of the Lease Agreement under the terms thereof, or (iii) October
31, 2020 (collectively, the “Maturity Date”). THE MAKER AGREES AND ACKNOWLEDGES THAT (1) THE
LOAN MADE TO THE MAKER UNDER THIS NOTE IS NOT A FULLY AMORTIZING LOAN; AND (2) A
SUBSTANTIAL PRINCIPAL BALANCE OR BALLOON PAYMENT OF PRINCIPAL SHALL BE DUE AND
PAYABLE ON THE MATURITY DATE OF THIS NOTE.

2. Interest Computation. All payments under this Note shall be made in immediately available funds and
shall be credited first to accrued interest then due, thereafter to unpaid principal, and then to other charges,
fees, costs, and expenses payable by the Maker under this Note in such order and amounts as the Lender
may determine in its sole and absolute discretion. If any payment of interest is not made when due, at the
option of the Lender, such interest payment shall bear interest at the same rate as principal from and after
the due date of the interest payment. Principal and interest shall be payable only in lawful money of the
United States of America. The receipt of any check or other item of payment (a “payment item”) by the
Lender, at its option, shail not be considered a payment until such payment item is honored when
presented for payment at the drawee bank or institution, and the Lender, at its option, may delay the credit
of such payment until such payment item is so honored. Notwithstanding anything to the contrary
contained in this Note, interest at the rates provided for in this Note shall be computed on the basis of a
three hundred sixty (360) day year for the actual number of days during which the principal balance of this
Note is outstanding. The Maker acknowledges and agrees that the calculation of interest on the basis
described in the immediately preceding sentence may result in the accrual and payment of interest in
amounts greater than those which would be payable if interest were calculated on the basis of a three
hundred sixty-five (365) day year.

3. Prepayment. The Maker shail have the right to prepay all or part of the outstanding principal balance of
this Note at any time without payment to the Lender of a prepayment fee or charge.

4. After Maturity/Default Rate of Interest. From and after either (a) an Event of Default (as such term is
defined below); or (b) the maturity of this Note (whether the stated maturity date of this Note or the maturity
date resulting from the Lender's acceleration of unpaid principal and interest), then in either of such
circumstances, interest on the unpaid principal balance of this Note shall accrue at a rate equal to two
percent (2.00%) per annum above the otherwise applicable interests rate.

5. Events of Default. The occurrence of any one or more of the following events will constitute an Event of
Default hereunder: (a) Nonpayment of any installment of principal and/or interest due under this Note when
it shall become due and payable (no prior demand therefor being necessary); (b) (i) The insolvency or
inability of the Maker to pay its debts as they mature; (ji) the appointment of a receiver, trustee, custodian or
other fiduciary, for, or for any of the property of, the Maker; (iii) the making of any assignment for the benefit
of creditors, or the making of or entering into a trust mortgage or deed or other instrument or similar import
for the benefit of creditors, by the Maker; or (iv) the convening of a meeting of the creditors, or the selection
of a committee representing the creditors of the Maker; (c) The filing of a petition, complaint, motion or other
pleading seeking relief under any receivership, insolvency, or debtor relief law, or seeking any readjustment
of indebtedness, reorganization, composition, extension or any similar type of relief, or the filing of a
petition, complaint, or motion under any chapter of the federal bankruptcy code, 11 U.S.C. 101, et. seq., as
the same now exists or may hereafter be amended (the "Bankruptcy Code"), by the Maker; (d) The filing of
a petition, complaint, motion or other pleading seeking any relief under any receivership, insolvency, or
debtor relief law, or under any chapter of the Bankruptcy Code, or seeking any readjustment of
indebtedness, reorganization, composition, extension or any similar type of relief, or the entry of any order
for relief under any chapter of the Bankruptcy Code, against, the Maker; provided, however, that if the
Maker shall immediately notify the Lender in writing of the filing of any such petition, complaint, motion or
other pleading against the Maker and shall provide evidence satisfactory to the Lender that the Maker has
in good faith and within 10 days after the filing of any such petition, complaint, motion or other pleading filed
an answer thereto contesting same, then there shall be no Event of Default under this subparagraph (d)
until the earliest of (i) the entry of an order for relief or a judgment under any proceedings referred to in this
subparagraph (d), (ii) the appointment of a receiver, trustee, custodian or other fiduciary in any such
proceeding, or (iii) the expiration of a period of 30 days, at the end of which such petition, complaint, motion
or other pleading remains undismissed; (e) The entry of any judgment against, or the attachment or
garnishment of any of the property, goods or credits of, the Maker which remains unpaid, unstayed,
undismissed or unbonded for a period of 30 days; or if any foreclosure is instituted (by judicial proceedings,
by publication of notice pursuant to a power of sale or otherwise) against the Maker under any mortgage,
deed of trust or security agreement granted by the Maker and is not dismissed or terminated for a period of
15 days; (f) The dissolution, liquidation or termination of existence of the Maker or a sale of substantially all
of the assets of the Maker out of the ordinary course of business; or (g)'a breach by the Maker of any other
term or condition of this Note.
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Remedies. !f an Event of Default occurs and is continuing, the Lender may exercise any right, power or
remedy permitted by law or as set forth herein, including, without limitation, the right to declare the entire
unpaid principal amount hereof and all interest accrued hereon and such principal, interest and other sums
shall thereupon become, immediately due and payable.

Waiver. The Maker waives demand, notice (except to the extent expressly required herein), presentment,
protest, demand for payment, notice of dishonor, notice of protest and diligence of collection of this Note.
The Maker consents to any and all extensions of time, renewals, waivers, or modifications that may be
granted by the Lender with respect to the payment or other provisions of this Note. The liability of the Maker
hereunder shall be absolute and unconditional and without regard to the liability of any other party hereto,
and the Maker agrees that makers, endorsers, guarantors and sureties may be added or released without
notice and without affecting the Maker’s liability hereunder.

Late Charge. If any installment of interest and/or payment of principal under this Note is not paid within ten
(10) days after the date on which it is due, the Maker shall immediately pay a late charge equal to two
percent (2.00%) of such installment to the Lender to compensate the Lender for administrative costs and
expenses incurred in connection with such late payment. The Maker agrees that the actual damages
suffered by the Lender because of any late installment payment are extremely difficult and impracticable to
asceriain, and the late charge described in this Section represents a reasonable attempt to fix such
damages under the circumstances existing at the time this Note is executed. The Lender's acceptance of
any late charge shall not constitute a waiver of any of the terms of this Note and shall not affect the
Lender's right to enforce any of its rights and remedies against any person liable for payment of this Note.

Application of Payments. Upon the occurrence and during the continuation of any Event of Default, the
Lender, at its option, shall have the right to apply all payments made under this Note to principal, interest,
and other charges, fees, costs and expenses payable by the Maker under this Note in such order and
amounts as the Lender may determine in its sole and absolute discretion.

Modifications; Loss of Note. No modification or waiver by the Lender of any of the terms of this Note
shall be valid or binding on Lender unless such modification or waiver is in writing and signed by the
Lender. If this Note is lost, stolen, or destroyed, upon the Maker's receipt of a reasonably satisfactory
indemnification agreement executed by the Lender, or if this Note is mutilated, upon the Lender's surrender
of the mutilated Note to the Maker, the Maker shall execute and deliver to the Lender a new promissory
note which is identical in form and content to this Note to replace the lost, stolen, destroyed or mutilated
Note.

Applicable Law; Successors. This Note shall be governed by and interpreted in accordance with the laws
of the State of New York (determined without regard to its conflicts of law principles other than Section 5-
1401 and Section 5-1402 of the New York General Obligations Law). The Lender and the Maker agree that
the courts of the State of New York and Federal District Court located in New York County, New York, shall
have exclusive jurisdiction and venue of any action or proceeding directly or indirectly arising out of or
related to the negotiation, execution, delivery, performance, breach, enforcement or interpretation of this
Note, regardiess of whether or not any claim, counterclaim or defense in any such action or proceeding is
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jurisdiction of such courts and to such venue. The Maker waives all objections to such jurisdiction and
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possession of the Maker, as security for the payment of this Note and any other liabilities of the Maker to
the Lender, which right of setoff shall be enforceable by the Lender on the Maturity Date or at any time after
and during the continuance of an Event of Default hereunder and subject to all provisions of this Note, as if
such property were specifically pledged hereunder. For the avoidance of doubt and notwithstanding
anything to the contrary in this Note, the Transaction Documents or any other documents executed in
connection therewith, the Lender shall have the right to exercise its setoff right with respect to any payment
that the Lender must make to the Maker, the Owner Trustee or MAS One under the Transaction
Documents, including, without limitation, the Lease Documents or the Residual Value Guarantees, or any
payment that an affiliate of the Lender must make to the Maker, the Owner Trustee or MAS One under the
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Indemnification. The Maker hereby indemnifies and agrees to defend and hoid harmless the Lender, its
officers, employees and agents, from and against any and all losses, damages, or liabilities and from any
suits, claims or demands, including reasonable attorneys' fees incurred in investigating or defending such
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claim, suffered by any of them and caused by, arising out of, or in any way connected with this Note or the
transactions contemplated therein (unless determined by a final judgment of a court of competent
jurisdiction to have been caused solely by the gross negligence or willful misconduct of any of the
indemnified parties). If any action shall be brought against the Lender, its officers, employees or agents, in
respect to which indemnity may be sought against the Maker, the Lender or such other party shall promptly

‘notify the Maker and the Maker shall assume the defense thereof, including the employment of counsel

selected by the Maker and reasonably satisfactory to the Lender, the payment of all reasonable costs and
expenses and the right to negotiate and consent to settlement. The Lender shail have the right, at its sole
option, to employ separate counsel in any such action and to participate in the defense thereof, all at the
Maker's sole cost and expense.

Notices. All notices and communications under this Note shall be in writing and shall be given by either
(a) hand-delivery, (b) first class mail (postage prepaid), or (c) reliable overnight commercial courier (charges
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hand delivery, upon delivery, (ii) if by mail, three (3) calendar days after the date first deposited in the
United States mail, and (iii) if by overnight courier, on the date of actual delivery or first attempted delivery if
delivery is refused. A party may change its address by giving written notice to the other party as specified
herein

Further Assurances. The Maker will, at its expense, promptly and duly execute and deliver to the Lender
Parties such further documents and assurances to take such further action as the Lender may from time to
time request in writing in order to more effectively carry out the intent and purpose of this Note and to
establish and protect the rights and remedies created or intended to be created in favor of the Lender
hereunder, including without limitation, to enter into any and all documents, instruments, or amendments
necessary or desirable to enforce this Note against the Maker or needed by the Lender in connection with
the procurement, establishment or maintenance of a letter of credit from a bank relating to the obligations of
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Partial Invalidity. The invalidity or unenforceability of any one or more provisions of this Note shalt not
render any other provision invalid or unenforceable. in lieu of any invalid or unenforceable provision, there
shall be added automatically a valid and enforceable provision as similar in terms to such invalid or
unenforceable provision as may be possible.

Counterparts: Electronic Signature Pages. This Note may be executed in counterparts, each of which

shall constitute an original and ail of which together shall constitute one and the same document. This Note
may be delivered by the Maker via facsimile, electronic mail (including pdf or any electronic signature
complying with the U.S. federal ESIGN Act of 2000, e.g., www.docusign.com) or other transmission method
and this Note so delivered shall be deemed to have been duly and validly delivered and be valid and
effective as an original for all purposes.

Binding Effect. The covenants, conditions, waivers, releases and agreements contained in this Note shall
bind, and the benefits thereof shall inure to, the parties hereto and their respective heirs, executors,
administrators, successors and assigns, provided, however, that this Note cannot be assigned by the Maker
without the prior written consent of the Lender, and any such assignment or attempted assignment by the
Maker absent such consent shalt be void and of no effect with respect to the Lender.

Modifications. This Note may not be supplemented, extended, modified or terminated except by an
agreement in writing signed by the party against whom enforcement of any such waiver, change,
modification or discharge is sought.

USA PATRIOT ACT. The Lender hereby notifies the Maker that pursuant to the requirements of the USA
Patriot Act (Title Ill of Pub. L. 107-56), the Lender may be required to obtain, verify, and record information
that identifies the Maker, which information includes the name and address of the Maker and other
information that will allow the Lender to identify the MAKER in accordance with the USA Patriot Act.

[Signature Page Follows]
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IN WITNESS WHEREOF, the undersigned, intending to be legally bound, has caused this Promissory Note to be
duly executed on the day and year first written above.

MATTERHORN AVIATION SERVICES LIMITED

DocuSigned by:
ay, | Eugur B'feilly

Eugene O'Reil]
Name: g y

 

Title: Director

[Signature Page to Promissory Note]
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ExhibitA

Description of the Aircraft

Airframe information

 

 

 

 

 

 

Manufacturer Honda Aircraft Company, LLC
Model HA-420

Serial Number 42000118
Registration Number N9O96WS

 

Engine information

 

 

 

 

 

 

Manufacturer GE Honda Aero Engines
Model HF120
Serial Number 4 883351
Serial Number 2 883352

 

 

 
